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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF OKLAHOMA



   UNITED STATES OF AMERICA,

                                 Plaintiff,

   V.                                                       Case No. 24-CR-045-GKF-06


   CHRISTOPHER YAHIR MARTINEZ,
   a/k/a ”Migo,”

                                 Defendant.


                                              Plea Agreement

        The United States of America, by and through Clinton J. Johnson, United States

   Attorney for the Northern District of Oklahoma, and Kenneth Elmore, Assistant

   United States Attorney, and the defendant, CHRISTOPHER YAHIR MARTINEZ,

   in person 2ind through counsel, Scott Troy, respectfully inform the Court that they

   have reached the following plea agreement.

        1.         Ebea

        The defendant agrees to enter voluntary pleas of guilty to the following:

   COUNT THREE: 18 U.S.C. § 933(a) and (b) - Conspiracy and Attempt to
   TrafiQck Firearms


   as set forth in the Second Superseding Indictment in the instant case. Northern

   District of Oklahoma, and admits to being in fact guilty as charged in the counts to

   which the defendant is pleading guilty.




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        2.        Waiver of Constitutional Rights

        The defendant understands that, by pleading guilty, the following constitutional

   rights will be relinquished:

             a. the right to be indicted if proceeding by Information;

             b. the right to plead not guilty;

            c. the right to be tried by a jury, or, with the consent of the government, to be
        tried by a judge;

             d. the right to an attorney at trial, including a court-appointed attorney if the
        defendant could not afford an attorney;

             e. the right to assist in the selection of the jury;

           f. the right to be presumed innocent, and to have the jury instructed that the
        government bears the burden to prove the defendant guilty beyond a reasonable
        doubt and by a unanimous verdict;

             g. the right to confront and cross-examine witnesses against the defendant;

             h. the right to testify on their own behalf and present witnesses in their
        defense;

            i. the right not to testify, and to have the jury instructed that the decision not
        to testify could not be used against the defendant;

           j. the right to appeal a guilty verdict to determine if any errors had been
        committed during trial that would require either a new trial or a dismissal of the
        charges;

           k. the right to have a jury determine beyond a reasonable doubt any facts that
        could increase any mandatory minimum or maximum sentence; and

             1.   any rights and defenses under the Excessive Fines Clause of the Eighth
        Amendment to the United States Constitution to the forfeiture of property in this
        proceeding or any related civil proceeding, special or other assessment, and any
        order of restitution.


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   By pleading guilty, the defendant will be giving up all of these rights. By pleading

   guilty, the defendant understands that they may have to answer questions posed by

   the Court, both about the rights that the defendant will be giving up and the factual

   basis for the defendant’s plea.

        3.        Appellate and Post-Conviction Waiver

        In consideration of the promises and concessions made by the government in this

   plea agreement, the defendant knowingly and voluntarily agrees to the following

   terms:


             a.The defendant waives rights under 28 U.S.C. § 1291 and/or 18 U.S.C. §
        3742(a) to directly appeal the conviction and sentence, including any fine,
        assessment, forfeiture, restitution order, term or condition of supervised release,
        or sentence imposed upon a revocation of supervised release; except that the
        defendant reserves the right to appeal from a sentence that exceeds the statutory
        maximum;

           b. The defendant expressly acknowledges and agrees that the government
        reserves aU rights to appeal the sentence;

           c. The defendant waives the right to appeal from the district court’s denial of
        any post-conviction motion to reduce the term of supervised release or probation
        under 18 U.S.C. §§ 3583(e)(1) or 3564(c); and

           d. The defendant waives the right to collaterally attack the conviction and
        sentence under 28 U.S.C. §§ 2241, 2255, or any other extraordinary writ, except
        for claims of ineffective assistance of counsel.


        The defendant expressly acknowledges that counsel has explained his appellate

   and post-conviction rights; that the defendant understands his rights; and that the

   defendant knowingly and voluntarily waives those rights as set forth above.


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                                       CHRISTOPHER YAHIR MARTINEZ


        4.        Freedom of Information Act Waiver


        The defendant waives all rights, whether asserted directly or by a representative,

   to request or to receive from any department or agency of the United States any

   records pertaining to the investigation or prosecution of this case including, without

   limitation, any records that may be sought under the Freedom of Information Act, 5

   U.S.C. § 552, or the Privacy Act of 1974, 5 U.S.C. § 552a.

        5.        Rule 11 Rights Waiver

        The defendant knowingly and expressly waives aU the rights afforded under Rule

   11(f) of the Federal Rules of Criminal Procedure. Therefore, in any subsequent

   proceeding, including a criminal trial, the following shall be admissible against the

   defendant under Rule 801(d)(2)(A) of the Federal Rules of Evidence:

           a. A guilty plea which is later withdravra or that the defendant seeks to
        withdraw;

             b. The facts that the defendant has admitted under this plea agreement, as
        well as any facts to which the defendant admits in open court at the plea hearing,
        and any statement made in any proceeding under Rule 11 regarding this plea
        agreement; and

           c. Any statement made during plea discussions -with an attorney or agent for
        the government, or that were made pursuant to a proffer letter agreement, that
        resulted in a plea of guilty that is later withdravra.

        6.        Payment of Monetary Penalties

             a. Enforcement


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                 1) The defendant waives any defense or objection to any action to enforce
             the collection of financial obligations to be imposed in connection with this
             prosecution, including, but not limited to, collection procedures authorized by
             the Federal Debt Collection Procedures Act, 28 U.S.C. § 3001, et seq., 18
             U.S.C. § 3664, or 18 U.S.C. § 3613.

                 2) The defendant understands and agrees that under 18 U.S.C. § 3613 any
             monetary penalties or restitution imposed by the Court will be due and
             payable immediately and subject to immediate enforcement by the United
             States. If the Court imposes a schedule of payments, the defendant agrees that
             the schedule is a minimum schedule of payments and not the only method,
             nor a limitation on the methods, available to the United States to enforce the
             judgment.

                 3) The defendant waives any requirement for demand of payment on any
             fine, restitution, or assessment imposed by the Court.

                 4) The defendant agrees that any unpaid obligations will be submitted to
             the United States Treasury for offset, so that any federal payment or transfer of
             returned property the defendant receives may be applied to federal debts and
             will not be limited by a payment schedule.

                5) The defendant agrees that any restitution debt may not be discharged in
             any bankruptcy proceeding.

             b. Disclosure of Financial Information

                 1) The defendant agrees to provide complete information regarding all
             victims potentially entitled to restitution.

                2) The defendant agrees to provide truthful and complete financial
             information, as requested by the United States Probation Office for the
             preparation of the presentence report.

                 3) The defendant agrees to complete, under penalty of perjury, the
             required financial statement form not later than two weeks after the defendant
             enters a guilty plea. The defendant agrees to update any material changes in
             circumstances, as described in 18 U.S.C. § 3664(k), within seven days of the
             event giving rise to the changed circumstances.



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                4) The defendant agrees to submit, before and after sentencing, to
             depositions and interviews regarding the defendant’s financial status, as
             deemed necessary by the United States Attorney’s Office.

                 5) The defendant authorizes the United States Attorney’s Office to obtain
             the defendant’s credit report. The defendant also agrees to provide waivers,
             consents, or releases, valid for 120 days after sentencing, to allow the U.S.
             Attorney’s Office to access records to verify financial information.

                  6) The defendant authorizes the United States Attorney’s Office to inspect
             and copy all financial documents and information held by the U.S. Probation
             Office.


                 7) The defendant’s failure to timely and accurately complete and sign the
             financial statement, and any necessary updates, may, in addition to any other
             penalty or remedy, constitute a failure to accept responsibility under U.S.S.G
             §3E1.1.

        7.        Abandonment Agreement

        Defendant agrees to abandon all interest in and rights or claims, to, if any, the

   property described below in order that final disposition may be made by the

   appropriate federal, state or local law enforcement agency, and agrees not to oppose

   any civil, administrative, or judicial forfeiture of the property. The property to be

   abandoned includes but is not limited to:


        FIREARMS AND AMMUNITION

        1.   A Palmetto State Armory, Model PA-15, multi caliber pistol, serial number
             SCD443583;

        2.   An Anderson Manufacturing, Model AM-15, Multi caliber pistol, serial number
             22021725;

        3.   A Century Arms International, Model VSKA, 7.62 x 39mm pistol, serial
             number SV7P011101; and


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       4. A Zastava, Model PAP           M85   PV,     5.56 caliber pistol,   serial number
             M85PV001787; and

       5.    A Romarm/Cugir, Micro Draco, 7.62 x 39mm pistol, serial number 22PMD-
             28632.


       Defendant specifically waives any right to personal notice of intention to abandon

   the property and any right to challenge the disposition of the property under Federal

   law.


       Defendant further waives all constitutional and statutory challenges in any

   manner (including direct appeal, habeas corpus, or any other means) to any judicial

   or administrative forfeiture or abandonment carried out in accordance with this plea


   agreement on any grounds, including that the forfeiture constitutes an excessive fine

   or punishment.

        Defendant agrees that in the event this plea agreement is voided for any reason.

   the agreement for abandonment and disposition of the property listed above shall

   survive and shall be given full force and effect.

        8.        Special Assessment

             a. The defendant hereby agrees to pay the total Special Monetary Assessment

   ($100 per felony count) to the United States District Court Clerk at or before

   sentencing or as otherwise directed by the District Court.




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        9.        Factual Basis and Elements


        To convict defendant under 18 U.S.C. § 933(a) and (b), the government must

   prove the following elements beyond a reasonable doubt:

             a. That the defendant knowingly agreed or conspired with at least one
   other person to ship, transport, transfer, cause to be transported or dispose of a
   firearm to another person in or otherwise affecting interstate commerce, knowing or
   having reasonable cause to believe that the use, carrying, or possession of the
   firearms by the recipient would constitute a felony;

             b.   That the defendant knew of the unlawful purpose of the agreement and
   joined in it willfully, that is, with intent to further its unlawful purpose;

             c.  There was interdependence among the members of the conspiracy; that
   is, the members, in some way or manner, intended to act together for their shared
   mutual benefit within the scope of the conspiracy charged.


        With regard to the factual basis required by Federal Rule of Criminal Procedure

   11(b)(3), the defendant agrees and stipulates that there is a factual basis for the plea

   of guilty and relieves the United States of any further obligation to adduce such

        The defendant, CHRISTOPHER YAHIR MARTINEZ, admits to knowingly.

   willfully and intentionally committing or causing to be committed the acts

   constituting the crimes alleged in Count Three in the instant case, and confesses to

   the Court that the defendant is, in fact, guilty of such crimes.

             I, CHRISTOPHER YAHIR MARTINEZ, admit that I committed the
             crimes of Conspiracy and Attempt to Traffic Firearms, from on or
             about September 15, 2023, through on or about September 16, 2023.

             Specifically, on or about September 15, 2023, I conspired and agreed
             with others to drive firearms from North Little Rock, Arkansas, to
             Oklahoma. We intended to distribute the firearms to others with the

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              intent to commit felonies against members of a rival group in Tulsa,
              Oklahoma. I drove a car with firearms to Oklahoma to meet with
              others who agreed to join us and drive to Tulsa, Oklahoma. The
              firearms were distributed amongst the group, including to people I
              knew or had reasonable cause to believe were prohibited from
              possessing firearms. I knew this when I agreed to drive the firearms to
              Oklahoma for our shared mutual benefit.


              We traveled with the firearms in two separate cars to Tulsa, Oklahoma.
              Multiple firearms were within easy reach of everyone in the car I was
              driving, and I knew or had reasonable cause to believe people within
              the car could not possess the firearms. We were subsequently arrested in
              a parking lot at 321 E. Reconciliation Way, Tulsa, Oklahoma, which is
              within the Northern District of Oklahoma. The parking lot was across
              from a nightclub that we knew members of the rival group frequented.


                                                                           Ij-S
              CHRISTOPHER YAHIR MARTINEZ                      Date
              Defendant


        10.       Further Prosecution


        The United States shall not initiate additional criminal charges against the


   defendant in the Northern District of Oklahoma that, as of the date of the

   defendant’s acceptance of this agreement, arise from its investigation of the

   defendant’s actions and conduct giving irse to the instant Second Superseding

   Indictment. The defendant understands, however, that this obligation is subject to all

    Limitations” set forth below, and that the United States Attorney’s Office for the

   Northern District of Oklahoma is free to prosecute the defendant for any illegal

   conduct            violation of federal criminal laws) not discovered by or revealed to the




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   government before the date of this agreement or occurring after the date of this

   agreement.

        11.       Dismissal of Remaining Counts

        If the Court finds the defendant’s pleas of guilty to be freely and voluntarily made

   and accepts the pleas, then the United States vdll move, at the appropriate time, to

   dismiss the remaining counts in the instant case, if any, as to this defendant.

        If the defendant’s guilty pleas are rqected, withdrawn, vacated, or reversed at any

   time, any charges that have been dismissed may be reinstated or re-presented to a

   grand jury, and the government will be free to prosecute the defendant for all

   charges. Under these circumstances, the defendant waives any right to argue that the

   Double Jeopardy clause bars the defendant’s federal prosecution, as well as any

   objections, motions, or defenses based upon the applicable statute of limitations, the

   Speedy Trial Act, or constitutional restrictions as to the timehness of any renewed

   charges.

        12.       Acceptance of Responsibility

        Provided the defendant clearly demonstrates acceptance of responsibility, the

   government agrees to recommend a two-level reduction in offense level pursuant to

   U.S.S.G. § 3E1.1. The government agrees to file a motion recommending that the

   Court grant an additional one-level reduction under U.S.S.G. § 3E1.1(b), if the

   defendant’s Guidelines offense level qualifies him for such a reduction. The

   sentencing judge is in a unique position to evaluate the acceptance of responsibility,

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   and the Court will ultimately decide whether to apply any § 3E1.1 reduction for

   timely acceptance of responsibility.

        Any agreement to recommend an acceptance-of-responsibility reduction is

   contingent upon the defendant’s continuing manifestation of acceptance of

   responsibility as determined by the government. If the defendant (1) falsely denies, or

   makes conflicting statements as to, his involvement in the crimes to which he is

   pleading, (2) falsely denies or frivolously contests conduct that the Court determines

   to be relevant conduct as defined in USSG § 1B1.3, (3) willfuUy obstructs or attempts

   to obstruct or impede the administration of justice as defined in USSG § 3C1.1, (4)

   perpetrates or attempts to perpetrate crimes while awaiting sentencing, or (5)

    advances false or frivolous issues in mitigation, the government expressly reserves

   the right to withdraw any recommendation regarding acceptance of responsibility

   without breaching the agreement.


         13.       Sentence


               a. Imprisonment

         The defendant acknowledges that under 18 U.S.C. § 933(a) and (b) the maximum

    statutory sentence is 15 years of imprisonment and a fine of not more than $250,000.

               b. Supervised Release

         Additionally, the defendant is aware, if imprisonment is imposed, that the Court

    may include as part of the sentence a requirement that after imprisonment the


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   defendant be placed on a term of supervised release of no more than 3 years per

   Count. Violation of any condition of supervised release may result in revocation, or

   modification of the conditions, of supervised release, which may in turn result in

   additional incarceration consistent with 18 U.S.C. § 3583(e).

               c. Guidelines


        The defendant is aware that the Sentencing Guidehnes are advisory. The Court,

   while not bound to apply the Sentencing Guidelines, must consult those Guidelines

   and take them into account when sentencing.

        The defendant is further aware that the Court determines the sentence, that the


    Court has not yet done so, and that any estimate of the sentence - received from any

   source        is a prediction, not a promise. Regardless of any estimate the defendant has

   received, the Court has discretion to impose any sentence up to and including the

    statutory maximum.


         14.       Stipulations

        The defendant and the United States agree and stipulate to the following facts:

         The defendant understands that neither the Court nor the United States Probation


    Office is bound by the foregoing stipulations, either as to questions of fact or as to

    determination of the correct advisory sentencing guideline calculation.

         Having been fully apprised by defense counsel of the right to seek compensation

    pursuant to Public Law 105-119, the defendant WAIVES any and all such right, and

    stipulates that defendant is not a “prevailing party” in connection with this case.
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        15.       Limitations


        This plea agreement shall be binding and enforceable upon the Office of the

   United States Attorney for the Northern District of Oklahoma, but in no way limits,

   binds or otherwise affects the rights, powers, duties or obligations of any state or

   local law enforcement agency, administrative or regulatory authorities, civil or

   administrative enforcement, collection, bankruptcy, adversary proceedings or suits

   which have been or may be filed by any governmental entity, including without

   limitation, the Internal Revenue Service, the Tax Division of the Department of

   Justice and the trustee in bankruptcy.

        16.       Breach of Agreement

        In the event either party believes the other has failed to fulfill any obligations

   under this agreement, then the complaining party shall, in its discretion, have the

   option of petitioning the Court to be relieved of its obligations herein. The Court

   shall determine whether a party has completely fulfilled all its obligations under this

   agreement in an appropriate proceeding at which any disclosures and documents

   provided by either party shall be admissible and at which the complaining party shall

   be required to establish any breach by a preponderance of the evidence. If the Court

   determines that the defendant has breached the plea agreement, the government may

   declare this agreement null and void, and the defendant will be subject to prosecution

   for any criminal violation, including but not limited to any crimes or offenses

   contained in or relating to the charges in this case, as well as false statement.

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   obstruction of justice, or any other crime committed by the defendant during this

   prosecution.

        The defendant hereby WAIVES any right under Rule 11(d) and (e) of the Federal

   Rules of Criminal Procedure to withdraw from the guilty plea or this agreement, save

   and except if the Court determines that the government has breached the plea

   agreement as set forth above. If CHRISTOPHER YAHIR MARTINEZ, after entry

   of a plea of guilty, unsuccessfully attempts to withdraw that guilty plea, the

   government may continue to enforce the agreement but will no longer be bound by

   any particular provision in this agreement, unless the Court determines that the

   government acted in bad faith to bring about the attempted plea withdrawal.

        17.       Conclusion


        No agreements, representations or understandings have been made between the

   parties in this case, other than those which are explicitly set forth in this plea

   agreement and the Plea Agreement Supplement that the United States will file in this

   case (as it does in every case, even if there me no additional terms) and none will be

   entered into unless executed in writing and signed by all of the parties.




   SO AGREED:


   CLINTON J. JOHNSON
   UNITED STATES ATTORNEY




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   KENNETH ELMORE                             Dated
   AssistaatJJnited StdX&sJd^rnty


                                              Dated




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   CHRISTOPHER YAHIR MARTINEZ                 Dated
   Defendant




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        I have read this agreement and carefully reviewed every part of it with my

    attorney. I understand it, and I voluntarily agree to it. Further, I have consulted with

    my attorney and fully understand my rights with respect to sentencing which may

    apply to my case. No other promises or inducements have been made to me, other

    than those contained in this pleading. In addition, no one has threatened or forced

    me in any way to enter into this agreement. Finally, I am satisfied with the

    representation of my attorney in this matter.



                                                     T^l7js/ZS
    CHRISTOPHER YAHIR MARTINEZ                      Dated
    Defendant



        I am counsel for the defendant in this case. I have fully explained to the defendant


   the defendant’s rights with respect to the pending Second Superseding Indictment.

   Further, I have reviewed the provisions of the Sentencing Guidelines and Policy

    Statements and I have fully explained to the defendant the provisions of those

    Guidelines which may apply in this case. I have carefully reviewed every part of this

   plea agreement with the deh      ant. To my knowledge, the defendant’s decision to

         nHntgsthis agreem^hj^ an informed and voluntary one.


    scqtt5^9^^7
    Counsel for the Defendant
                                                    Dated




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